Case 8-18-74507-reg Doc 23 Filed 09/15/18 Entered 09/15/18 23:19:41

Retum Date: September 17, 201 8

Time: 9:30 A.M.
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
(CENTRAL ISLIP)
....................................................... X
In Re:
Chapter 7
CEZARY S. WYSOCKI, Case No. l-lS-74507 (REG)
Debtor
_______________________________________________________ X

REPLY AFFIRMATION IN FURTHER SUPPORT OF MOTION TO VACATE THE
AUTOMATIC STAY AND IN REPLY TO TRUSTEE'S OPPOSITI()N

Robert L. Gordon an attorney admitted to practice law before this Court, affirms the truth of
the following under penalties ofperjury:
l. lam the attorney for 140-50 Burden Crescent Owners Corp., a creditor in the Within action
(“Creditor”) and as such am fully familiar With the facts and circumstances of this matter. All of the
relevant facts With references to same are more particularly set forth in the affidavit ofMark Novin,
the managing agent for the Creditor, in the underlying motion and will not be herein repeated.
2. This Reply Aftirmation is made in response to the Trustee‘s opposition with respect to
Creditor's motion to vacate the stay to permit the foreclosure sale of shares of stock (“Stock") and
proprietary lease appurtenant thereto ("Proprietary Lease") allocated to cooperative apartment ZE
("Apartment“), located at 140-50 Burden Crescent, Briarwood, New York 1 1435 ("Building"). The
Trustee's opposition is replete With factual and legal errors Which Will be addressed in the order

presented.

Case 8-18-74507-reg Doc 23 Filed 09/15/18 Entered 09/15/18 23:19:41

3. The Trustee, without introducing any affidavit from a qualified expert or an appraisal from
a licensed appraiser, attempts to argue that the Apartment has a fair market value of,approximately
$120,()00. In the absence of any documentary evidence, this allegation should be disregarded as
unsubstantiated and of no probative value. That the Trustee' potentially chooses to rely on the
Debtor's petition and schedules to value the Apartment at 3120,000 is not dispositive of the fair
market value of this "asset“ in the Debtor’s estate. The Trustee has elected not to furnish an appraisal
for the Apartment and cannot speak to the anticipated resale amount with any authority because,
upon information and belief, the Trustee is not a licensed appraiser and has no expertise in this area.
4. The Trustee's Supposition as to the existence of a successful bidder at an auction to be held
is also not supported by the evidence submitted and should be disregarded as unsubstantiated and
mere conjecture The fallacy of this argument is that it confuses the existence of a retained auctioneer
with that of purported prospective purchasers The existence of the auctioneer itself does not prove
the existence of prospective purchasers Without venturing far into the philosophical implications
of the Trustee's supposition, one might paraphrase this fantasy as “if you advertise, they will come."
5. Moreover, there is presently approximately $81,000 in debt between monies owed to the
Debtor’s lender and to the Creditor for rent and additional rent according to the 1'i`rustee. This sum
is exclusive of all administrative expenses, accrued post-petition maintenance, additional
maintenance, and loan expense, assuming an estimated date of cure 180 days from the date hereof.
It is anticipated that total indebtedness to the Creditor will be approximately $100,000.

6. There is also no assurance that any prospective purchaser produced by the Trustee’s auction
will be acceptable to the Creditor, which has the right to approve all prospective applicants, and that

this entire process will not be further delayed

Case 8-18-74507-reg Doc 23 Filed 09/15/18 Entered 09/15/18 23:19:41

7. The Trustee also assumes that the Apartment will sell for 3120,000 or more. Distressed real
estate sales often do not generate bids at the fair market value of asset being sold, because bidders
expect to pay substantially less under such circumstances. Accordingly, in the absence of any firm
bids solicited by the Trustee or the setting of a reserve price, there can be no adequate assurance of
protection for the Creditor that the Trustee can obtain an adequate sales price at an auction, let alone
a purchaser who can actually close title. Contra_ry to the Trustee's unsupported assertion, there may .
` well be insufficient funds to pay all of the creditors and the relief sought by the Creditor is indeed
warranted under the circumstances

8. There are no cases cited by the Trustee for the proposition that any purported "equity
cushion" will suffice for the purposes of adequate protection..

9. it is further respectfully submitted that the automatic stay should be vacated under Code

§ 362(d)(1) because the Creditor's interest in the Shares is not being adequately protected. -Pursuant
to Code §362(g), the Trustee has the burden of establishing that Creditor's interest is adequately
protected In re Leonard, 151 B.R. 639 (Bankr. N.D.N.Y. 1992); fn re Saint Peters School, 16 B.R.
404 (Bankr. S.D.N.Y. 1982). Although the Code does not specifically define adequate protection,
it is generally agreed that adequate protection means that "a secured creditor must be given
reasonable assurance that the value of its Secured interest in an item of property is, and will continue
to be, protected by the debtor.“ fn Re Cooley, 37 B.R. 590 (E.D. Pa. 1984). Thus, "a secured creditor
has the right to receive adequate protection for any decline in value the collateral may suffer after
the automatic stay is in effect, since, but for the stay, the creditor could foreclose to prevent or
mitigate any loss in the value of the security". fn re Pine ]_',ake Vz'llage Apartment Co., 19 B.R. 819

(Bankr. S.D.N.Y. 1982). Any proposed assignee must at a minimum demonstrate general financial

Case 8-18-74507-reg Doc 23 Filed 09/15/18 Entered 09/15/18 23:19:41

circumstances and ability to satisfy the obligations under the Proprietary Lease and any other
obligations necessary to carry the Apartment. See fn re Brentano’s, Inc., 29 B,R. 881 (Bankr.
S.D.N.Y. _1983) (proposed assignee's good financial standing constituted adequate assurance of
future performance). Although the Code does not specifically define adequate protection, it is
generally agreed that adequate protection means that a secured creditor must be given reasonable
assurance that the value of its secured interest in an item of property is, and will continue to be,
protected fn Re Lafayette Radz'o Electronics Corp., 9 B.R. 593, 598 (Bankr. E.D.N.Y. 1981).

9. The legislative history of the adequate protection provisions of the Code indicates that
adequate protection "must be provided to a creditor whose collateral is decreasing in value or is being
consumed during the stay." S. Rep. No. 95-598, 95th Cong., 2nd Sess., p. 4, reprinted in 1978 U.S.
Code Cong. & Admin. News 5787, 5790 (emphasis added). Congress has recognized that adequate
protection is required so that "[s]ecured creditors [are] not deprived of the benefit of their bargain. "
H.R. Rep. No. 95-595, 95th Cong., 2nd Sess., p. 339, reprinted in 1978 U.S. Code Cong. & Admin.
News 5963, 6295 ; UniredScrv. Ass"n v. Timbers of]nwoodForest/lssocs., Ltd., 484 U.S. 365 (1988).
l(). The right of a cooperative corporation to seek relief from the automatic stay for lack of
adequate protection under Code § 362(d)(1) was considered by the United States District Court,
Southern District of`New York, in the case of]n re 160 Bleecker Street Associates, 156 B.R. 405
(S.D.N.Y. 1993). In 160 Bleecker Street, the sponsor of a cooperative conversion filed a petition for
relief under Chapter l l of the Bankruptcy Code. The sponsor’s default in its maintenance payments
to the cooperative corporation had caused the cooperative corporation to default in its payments to
the mortgagee holding the mortgage on the subject building The Banl<ruptcy Court denied the

cooperative corporation's motion to vacate the stay under Code §§ 362(d)(l) and (d)(2) upon the

Case 8-18-74507-reg Doc 23 Filed 09/15/18 Entered 09/15/18 23:19:41

grounds that, inter alia, although the Debtors had no equity in the apartments the apartments were
essential to the debtor's plan for reorganization ]d. at 410.
l l . The United States District Court, Southern District, reversed the Bankruptcy Court Order and
granted the cooperative corporation's motion for relief from the automatic bankruptcy stay pursuant
to 11 U.S.C. §362 (d)(Z), and under §§ 361 and 362(d)(1), because the cooperative corporation
lacked adequate protection of its interest and because the sponsor had no equity in the apartments
and the apartments were not necessary to an effective reorganization In reaching its decision, the
District Court noted that the Bankruptcy Court had not determined the value of the cooperative
corporation's claim, the market value of the apartments, or the amount of interest, late charges and
other charges due to cooperative corporation, that had accrued against the apartments Further, the
District Court aptly observed that:

The huge debt owed by the debtor leaves the Cooperative without

necessary funds to discharge its obligation to maintain the building.

The stay prevents it from realizing funds through access to the

collateral. The Cooperative's growing insolvency, which results from

the stay, adversely affects its ability to maintain the building and in

turn adversely affects the value of the apartments . . . As the

apartments are the collateral, it is clear that the value of the collateral

is being banned by the stav. (ernphasis added) § 186 B.R. at 413.
12. The facts of the case at bar are similar if not more compelling than the facts in the 160
BleeckerStreet case. In 160 Bleecker Street, the cooperative corporation argued that it was entitled
to relief from the stay for "cause" because its interests in the apartments were not being adequately
protected The cooperative estimated that at the time of the Debtor’s bankruptcy filing, its claim was

$1.0 million and the value of the collateral was $1.6 million. Further, the cooperative argued that its

claim continued to grow as the Debtor continued its default On this basis, the cooperative argued

Case 8-18-74507-reg Doc 23 Filed 09/15/18 Entered 09/15/18 23:19:41

that the Debtor’s bankruptcy and the resulting financial disarray of the cooperative corporation
further contributed to a decline in the market value of the collateral Hence, there was no "adequate
protection" under the Bankruptcy Code.

l3. lt is well established law that an unexpired lease may be assumed only if at the time of the
assumption, a debtor cures or provides adequate assurance of future performance ll U.S.C. §
365(b)(1). See, e.g., 111 re Wz`lls Motors, Inc., 133 B.R. 297 (S.D.N.Y. 1991); fn re Wz'ngstead Corp.,
116 B.R. 915 (S.D.N.Y. 1990). Adequate assurance that existing defaults would be cured requires
non-speculative evidence sufficiently substantive to assure the non-debtor it will receive the amount
of the default The unsupported assertion that arreages will be paid is not sufficient where the
debtor's finances are precarious fn re Skylark Travel, Inc. 120 B.R. 352 (S.D.N.Y. 1990); see also
fn re Mas_terworlcs, Inc., 100 B.R. 149 (D. Conn. 1989); In re World Skating Center, Inc., 100 B.R.
147 (D. Conn. 1989). In the present matter, the Trustee has made no showing sufficient to support
a finding that any prospective purchaser will provide adequate protection

14. The delay in waiting at a minimum of six months to sell the Apartment is highly prejudicial
to the interest of the Creditor and is further unwarranted and impermissible for the reasons
hereinabove stated ln liquidation cases under Chapter 7, Code § 365(d)(1) requires that the trustee
assume within 60 days or the contract or lease is deemed rejected However, this time may be
extended by the court, for cause, for additional periods However, upon information and belief, no
motion was ever made by the Debtor or Trustee to extend the period of time to assume or assign the
Stock and Proprietary Lease prior to September 3, 2018. Section 365(d)(l) is a potential trap for the
debtor or trustee who fails to assume or assign timely. The purpose of this provision is to llprevent

parties in contractual or lease relationships with the debtor from being left in doubt concerning their

Case 8-18-74507-reg Doc 23 Filed 09/15/18 Entered 09/15/18 23:19:41

status vis-a-vis the estate". See fn re Shoppers Paradise, Inc., 7 B.C.D. 69 (Bankr. S.D.N.Y. 1980).
Generally, rejection of an executory contractor unexpired lease constitutes a breach as of the date
immediately preceding the date of the petition. Code § 365(g)(1). See Lubrizol Enterprises, Inc. v.
RfchmondMeral Fr'nz'shcrs, Inc., 756 F.Zd 1043 (4th Cir. 1985), cert denied, 457 U.S. 1057 (1986).
WHEREFORE, it is respectfully submitted that Creditor's motion to vacate the automatic
stay be granted in its entirety, the Trustee's opposition thereto be denied in its entirety, together with
such other and further relief to which this Court is just and proper.
Dated: September 15, 2018
Palisades, New York
Yours, etc.
LAW OFFICE OF ROBERT L. GORDON
Attorney for Creditor
140-50 Burden Crescent Owners Corp.
21 Swan Street
Palisades, New York 10964
(718) 267-9513

- By: S/RobertL. Gordon
Robeit L. Gordon ( RG3443)

Case 8-18-74507-reg Doc 23 Filed 09/15/18 Entered 09/15/18 23:19:41

AFFIDAVIT OF SERVICE

STATE OF NEW YORK )
)ss.:
COUNTY OF QUEENS )
SHlRLEY D. GORDON, being duly sworn deposes and says:

That l am over eighteen (18) years of age and reside at 21 Swan Street, Palisades, New York

10964

That on September 15, 2018, 1 served a true copy of the Reply Affirmation in Suppoit of
Motion to Vacate the Automatic Stay by mailing same in a sealed envelope, with postage prepaid
thereon, in a post-office or official depository of the U.S. Postal Service within the State of New

York, by regular mail, addressed to the last known address of the addressee as indicated below:

TO:

Cezary S. Wysocki
50 Tree Road
Centerreach, New York 11720

Rachel Cowart

140-50 Burden Crescent

Unit 213l

Briarwood, New York 11435-2340

s/Shirlev D. Gordon

Sworn to before me this

15th day of September, 2018
s/Robert L. Gordon

Qualified in Rockland County
NOTARY PUBLIC No. XX-XXXXXXX
Commission Expires June 29, 20 l 9

